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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 ANTWON DENNIS,

                                Plaintiff,
                                                                23-CV-6899 (LTS)
                    -against-
                                                                CIVIL JUDGMENT
 COMMISSIONER ANTHONY ANNUCCI,
 ET AL,

                                Defendants.

       For the reasons stated in the September 14, 2023, order, this action is dismissed.

       The Court certifies under 28 U.S.C. § 1915(a)(3) that any appeal from the Court’s

judgment would not be taken in good faith.

SO ORDERED.

 Dated:   September 14, 2023
          New York, New York

                                                             /s/ Laura Taylor Swain
                                                           LAURA TAYLOR SWAIN
                                                        Chief United States District Judge
